                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI                             FILED
                                      EASTERN DIVISION
                                                                                      NOV - 8 2017
 UNITED STATES OF AMERICA,                          )
                                                                                  _ U.S. DISTRICT COURT
                                                    )                             EASTERN DISTRICT OF MO
                   Plaintiff,                       )                                     ST. LOUIS
                                                    )
 v.                                                 )
                                                    )
 NATHAN WYATT,                                      )
                                                    )
                                                             4:17CR00522 RLW/SPM
                   Defendant.                       )

                                               INDICTMENT

THE GRAND JURY CHARGES THAT:

At times relevant to this Indictment:

         1.       Victim 1 was a health care provider located in Farmington, Missouri, in the

Eastern District of Missouri. Victim 1 utilized "protected computers," as that term is defined in

Title 18, United States Code, Section 1030(e)(2), in interstate and foreign commerce to, among

other things, store and transmit sensitive and personally identifying information (PII) about

patients, including billing and medical records.

        2.        Victim 2 was a medical records company headquartered in Swansea, Illinois.

Victim 2 utilized "protected computers," as that term is defined in Title 18, United States Code,

Section 1030(e)(2), in interstate and foreign commerce to, among other things, store and transmit

sensitive and personally identifying information, medical records, and billing records on behalf

of its clients.

        3.        Victim 3 was a health care provider with multiple locations in the Eastern District

of Missouri.      Victim 3 utilized "protected computers," as that term is defined in Title 18,

United States Code, Section 1030(e)(2), in interstate and foreign commerce to, among other
things, store and transmit sensitive and personally identifying information about patients,

including billing and medical records.

        4.     Victim 4 was a certified public accountant business located in St. Louis, Missouri,

in the Eastern District of Missouri. Victim 4 utilized "protected computers," as that term is

defined in Title 18, United States Code, Section 1030(e)(2), in interstate and foreign commerce

to, among other things, store and transmit sensitive and personally identifying information about

clients, including sensitive financial records.

        5.     Victim 5 was a health care provider located in Athens, Georgia. Victim 5

utilized "protected computers," as that term is defined in Title 18, United States Code, Section ·

1030(e)(2), in interstate and foreign commerce to, among other things, store and transmit

sensitive and personally identifying information about patients, including billing and medical

records.

                                             COUNTl

                                   18 U.S.C. § 371-Conspiracy

THE GRAND JURY CHARGES THAT:

        6.     Paragraphs 1 through 5 are re-alleged and incorporated as if set forth here in their

entirety.

        7.     From in or about February 2016, and continuing thereafter until in or about June

2017, in the Eastern District of Missouri and elsewhere, the defendant,

                                       NATHAN WYATT,

did knowingly and willfully conspire and agree with others, both known and unknown to the

Grand Jury, to commit offenses against the United States, namely:


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    a. Knowingly transferring, possessing, and using, without lawful authority, a means of

         identification of another person during and in relation to a felony violation

         enumerated in Title 18, United States Code, Section 1028A(c), that is Title 18, United

         States Code, Section 1030(a)(7) (extortion involving computers), in violation of Title

         18, United States Code, Section 1028A.

    b. Intentionally accessing a computer without authorization, and thereby obtaining

         information from any protected computer for purposes of private financial gain, with

         the value of the information obtained exceeding $5,000, and the offense being

         committed in furtherance of a criminal act in violation of the laws of the United

         States, specifically Title 18, United States Code, Section 1030(a)(7) (extortion

         involving computers), in violation of Title 18, United States Code, Section

         1030(a)(2)(C) and (c)(2)(B); and

    c. Knowingly and with intent to extort from persons money and other things of value,

         transmitting in interstate and foreign commerce communications containing demands

         and requests for money and other things of value in relation to damage to a protected

         computer, where such damage was caused to facilitate the extortion, in violation of

         Title 18, United States Code, Section 1030(a)(7)(C) and (c)(3)(A).

                           Manner and Means of the Conspiracy

    8.      The manner and means used to accomplish the objectives of the conspiracy

            included, among others, the following:

            a.      It was part of the conspiracy for the participants to remotely access the

                    protected computer networks of Victims 1-5 without authorization by


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                     using, among other things, compromised Remote Desktop Protocol

                     Credentials.

              b.     It was part of the conspiracy for the participants to obtain personally

                     identifying and sensitive records, including means of identification and

                     other information, from the protected computer networks of Victims 1-5.

              c.     It was part of the conspiracy for the participants to offer the compromised

                     records and information for sale on criminal forums and marketplaces.

              d.     It was part of the conspiracy for the participants to use ·email and

                     telephone accounts to send messages containing threats to release the

                     victim companies' compromised records and information unless the victim

                     companies met the conspirators' extortionate demands for payment in

                     bitcoin and/or wire transfer.

                                           Overt Acts

       9.     It was further part of the conspiracy that the following acts in furtherance of and to

effect the objects of the above-described conspiracy were committed in the Eastern District of

Missouri and elsewhere:

              a.     WYATT registered a telephone account (Account A) used in the course of

                     the conspiracy to register a virtual private network account and Twitter

                     account used by conspirators to conduct the scheme.

              b.     WYATT registered a telephone account (Account B) used in the course of

                     the conspiracy to send threatening and extortionate text messages to

                     victims.


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    c.   WYATT registered a virtual private network account used in the course of

         the conspiracy to access a PayPal account used by conspirators to conduct

         the scheme.

    d.   WYATT accessed a PayPal account used by conspirators to attempt to steal

         funds from Victim 2.

    e.   On or about June 10, 2016, one or more conspirators sent an email to Victim

         1 using the pseudonym "Marco Weebler" and the email address

         m*************2@gmail.com. The email included PII obtained from

         Victim 1's compromised network and demanded payment in bitcoin in

         exchange for not releasing the compromised records and information.

    £    On or about June 27, 2016, one or more conspirators sent an email to Victim

         5 using the m*************2@gmail.com email account.            The email

         included PII obtained from Victim 5's compromised network and

         demanded payment in bitcoin in exchange for not releasing the

         compromised records and information.

    g.   On or aboutJune 28, 2016, one or more conspirators sent an email to Victim

         5 using the m*************2@gmail.com email account again

         threatening to release the compromised records unless Victim 5 paid the

         bitcoin ransom.

    h.   On or about July 10, 2016, one or more conspirators sent an email to Victim

         3 using the m*************2@gmail.com address, stating that Victim 3's

         network had been hacked and demanding payment in bitcoin in exchange


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     for not releasing compromised PII and other records. The email included

     PII obtained from Victim 3 's network.

i.   On or about July 12, 2016, one or more conspirators sent an extortionate

     text message from a phone account registered by WYATT (Account B) to

     Victim 3, stating that the deadline to meet the extortion demands was

     midnight of that night.

J.   On or about July 17, 2016, one or more conspirators sent an email to Victim

     4 from the m*************2@gmail.com account. This email warned

     that Victim 4 was not paying quickly enough, and that the co-conspirators

     were "considering punishment by purging some of your data and possibly

     leaking some of this entire fiasco."

k.   Also on or about July 17, 2016, one or more conspirators sent a threatening

     voicemail to Victim 4 from a phone account registered by WYATT

     (Account B).

1.   Also on or about July 17, 2016, one or more conspirators sent threatening

     text messages from a phone account registered by WYATT (Account B) to

     the daughter of one of the owners of Victim 1. These included texts stating,

     "hi ... you look peaceful ... by the way did your daddy tell you he refused to

     pay us when we stole his company files in 4 days we will be releasing for

     sale thousands of patient info. Including yours ... ". A second text stated

     "hmm maybe your [sic] just a dumb rich girl who dosent [sic] understand

     the dangers here .. .im gonna try Chels ... she may have an iq ... stay hot


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                        Babe ... " A third stated, " ... could be averted if daddy wasn't such a fkin

                        idiot. Firstly for not taking care of his patients ... then for not paying when

                        he had a small problem."

                m.      On or about July 23, 2016, one or more conspirators sent an email to Victim

                        4 from the m*************2@gmail.com account.                     This email

                        threatened to begin "calling your clients one by one" unless the company

                        paid the ransom.

                n.      On or about July 26, 2016, one or more conspirators sent an email to Victim

                        5 from the m*************2@gmail.com account.                    This email

                        demanded payment via wire transfer to accounts controlled by WYATT.

        All in violation of Title 18, United States Code, Section 371.

                                               COUNT2

                18U.S.C.§1028A(a)(l), (b), (c)(4))-Aggravated Identity Theft

THE GRAND JURY FURTHER CHARGES THAT:

        10.     The factual allegations contained in Paragraphs 1 through 5 are re-alleged and · · ·

incorporated as if set forth here in their entirety.

        11.     On or about June 10, 2016, in the Eastern District of Missouri and elsewhere, the

defendant,

                                         NATHAN \VYATT,

during and in relation to a felony violation enumerated in Title 18, United States Code, Section

1028A(c), specifically Title 18, United States Code, Section 1030(a)(7) (extortion involving

computers), did knowingly transfer, possess, and use, without lawful authority, a means of

identification of another person, that is, personally identifying information about persons with
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records held by Victim 1, knowing that said means of identification belonged to another actual

person.

          All in violation of Title 18, United States Code, Sections 1028A(a)(l), (b), (c)(4) and 2.

                                               COUNT3

                  18 U.S.C. § 1028A(a)(l), (b), (c)(4)-Aggravated Identity Theft

THE GRAND JURY FURTHER CHARGES THAT:

          12.    The factual allegations contained in Paragraphs 1 through 5 are re-alleged and

incorporated as if set forth here in their entirety.

          13.    On or about July 10, 2016, in the Eastern District of Missouri and elsewhere, the

defendant,

                                         NATHAN WYATT,

during and in relation to a felony violation enumerated in Title 18, United States Code, Section

1028A(c), specifically Title 18, United States Code, Sectibn 1030(a)(7) (extortion involving

computers), did knowingly transfer, possess, and use, without lawful authority, a means of

identification of another person, that is, personally identifying information about persons with

records held by Victim 3, knowing that said means of identification belonged to another actual

person.

          All in violation of Title 18, United States Code, Sections 1028A(a)(l), (b), (c)(4) and 2.

                                              COUNT4

    18 U.S.C. § 1030(a)(7)(C) & (c)(3)(A)-Threatening to Damage Protected Computer

THE GRAND JURY FURTHER CHARGES THAT:

          14.    The factual allegations contained in Paragraphs 1 through 5 are re-alleged and


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    incorporated as if set forth here in their entirety.

            15.     On or about June 10, 2016 and July 17, 2016, in the Eastern District of Missouri

    and elsewhere, the defendant,

                                             NATHAN WYATT,

    with intent to extort from a person money and things of value, did transmit in interstate or foreign

    commerce a comml:inication containing a demand and request for money and other thing of value

    in relation to damage. to a protected computer, where such damage was caused to facilitate the

    extortion, that is, WYATT sent email and text messages threatening to release data stolen from

    Victim 1 's protected computer unless Victim 1 paid a bitcoin ransom.

            All in violation of Title 18, United States Code, Sections 1030(a)(7)(C) & (c)(3)(A) and 2.

                                                   COUNTS

        18 U.S.C. § 1030(a)(7)(C) & (c)(3)(A)-Threatening to Damage Protected Computer

    THE GRAND JURY FURTHER CHARGES THAT:

            16.     The factual allegations contained in Paragraphs 1 through 5 are re-alleged and

    incorporated as if set forth here in their entirety.

            17.     On or about July 10, 2016 and July 12, 2016, in the Eastern District of Missouri

            and elsewhere, the defendant,

                                             NATHAN WYATT,

    with intent to extort from a person money and things of value, did transmit in interstate or foreign

    commerce a communication containing a demand and request for money and other thing of value

    in relation to damage to a protected computer, where such damage was caused to facilitate the

    extortion, that is, WYATT sent email and text messages threatening to release data stolen obtained


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from Victim 3 's protected computer unless Victim 3 paid a bitcoin ransom.

        All in violation of Title 18, United States Code, Sections 1030(a)(7)(C) & (c)(3)(A)


and2.

                                               COUNT6

    18 U.S.C. § 1030(a)(7)(C) & (c)(3)(A)-Threatening to Damage Protected Computer

THE GRAND JURY FURTHER CHARGES THAT:

        18.     The factual allegations contained in Paragraphs 1 through 5 are re-alleged and

incorporated as if set forth here in their entirety.

        19.     On or about July 17 and July 23, 2016, in the Eastern District of Missouri and

elsewhere, the defendant,

                                         NATHAN WYATT,

with intent to· extort from a person money and things of value, did transmit in interstate or foreign

commerce a communication containing a demand and request for money and other thing of value

in relation to damage to a protected computer, where such damage was caused to facilitate the

extortion, that is, WYATT sent an email message to Victim 4 threatening to release data stolen

obtained from Victim 4's protected computer unless Victim 4 paid a bitcoin ransom.

        All in violation of Title 18, United States Code, Sections 1030(a)(7)(C) & (c)(3)(A) and 2.




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                                       Forfeiture Allegation

                                  (18 U.S.C. §§ 982(a)(2)(B), 1030(i))

        20.    The factual allegations in Paragraphs 1 through 5 are re-alleged and incorporated

as if fully set forth here for the purpose of alleging forfeitures pursuant to 18 U.S. C. §§

982(a)(2)(B) and 1030(i).

       21.     Upon conviction of the offenses in violation of 18 U.S.C. § 1030 set forth in

Counts Four through Six of this Indictment, the defendant, NATHAN WYATT, shall forfeit to

the United States of America the following:

               (a)      Pursuant to 18 U.S.C. §§ 982(a)(2)(B) and 1030(i), any property, real or

personal, constituting, or derived from, proceeds obtained directly or indirectly as a result of such

offense; and

               (b)      Pursuant to 18 U.S.C. § 1030(i), any personal property that was used or

intended to be used to commit or to facilitate the commission of such offense.

       23.     Pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. §§ 982(b) and 1030(i),

the defendant, NATHAN WYATT, shall forfeit substitute property, up to the value of the

forfeitable property, or any portion thereof, if by any act or omission of the defendant the

forfeitable property:

               (a)      cannot be located upon the exercise of due diligence;

               (b)      has been transferred or sold to or deposited with, a third person;

               (c)      has been placed beyond the jurisdiction of the Court;

               (d)      has been substantially diminished in value; or




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              (e)    has been commingled with other property which cannot be subdivided

                     without difficulty.




DATED:- - - - -                            A TRUE BILL



                                           FOREPERSON


JEFFREY B. JENSEN
United States Attorney


LAURA-KATE BERNSTEIN
Trial Attorney
United States Department of Justice




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